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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                        WACO DIVISION

JANE DOE 1, et al.,                                §
                                                   §                  6:16-CV-173-RP
               Plaintiffs,                         §
                                                   §                  Consolidated with
v.                                                 §                  6:17-CV-228-RP
                                                   §                  6:17-CV-236-RP
BAYLOR UNIVERSITY,                                 §
                                                   §
               Defendant.                          §

                                              ORDER

       Before the Court is Baylor’s Amended Motion for Order Preserving Confidentiality

Designation, (Dkt. 1068). After reviewing the motion, the Court issues this order to confirm that the

motion falls within the purview given to Special Master Andrew McRae per this Court’s Order on

June 27, 2022. (Dkt. 1054). In that Order, the Court appointed Andrew McRae to resolve an

ongoing dispute related to the production of Pepper Hamilton work product materials. (Id. at 3–4).

Baylor’s motion directly contends with the treatment of Pepper Hamilton work product documents

in the Jane Doe 11 case. (Dkt. 1068). Given that Baylor’s motion relates to the treatment of Pepper

Hamilton work product materials and to provide clarity on the scope of the Special Master’s limited

appointment, this Court ORDERS that Special Master Andrew McRae shall, within the bounds of

his appointment, additionally consider Baylor’s Amended Motion for Order Preserving

Confidentiality Designation, (Dkt. 1068), as part of his report and recommendation to this Court.

       SIGNED on September 9, 2022.



                                                   ________________________________
                                                   ROBERT PITMAN
                                                   UNITED STATES DISTRICT JUDGE
